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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT

__________________________________________
NICOLE WADE, AMY DISALVATORE, )
and DYLAN BARKASY                          )
Plaintiffs                                 )
                                           )
v.                                         )         NO. 3:21-cv-924-JAM
                                           )
UNIVERSITY OF CONNECTICUT                  )
BOARD OF TRUSTEES and                      )
ANDREW AGWUNOBI,                           )
Defendants                                 )

  PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION TO DISMISS

   Plaintiff filed a complaint seeking injunctive relief from the defendants’ unlawful

policy, mandating that the students of the University of Connecticut take an

unapproved COVID-19 vaccine. The policy provided for medical or “nonmedical”

exemptions and would subject the students who did not take the vaccine to

“sanctions”. To date, nonmedical exemption has not been defined. The students had

to sue the defendants in order to obtain some form of an explanation in the form of a

Declaration from the Dean of Students and Associate Vice President of Student

Affairs, which provides virtually no elaboration on what a nonmedical exemption is,

or how a student is accepted or denied after applying for one. Defendant Board of

Trustees moved to dismiss the action based on Eleventh Amendment lack of

jurisdiction and based on lack of standing. Plaintiffs oppose their motion, and the

case should proceed.

   Plaintiffs are not claiming that general, mandatory vaccinations are violative of

their Fourteenth Amendment rights. Plaintiffs are, however, claiming that



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imposing a mandatory vaccination of these specific COVID-19 vaccinations, which

have not been approved by the Food and Drug Administration, have not been

mandated by the Commissioner of Public Health, are not required to attend school

as a matter of law within the State of Connecticut, and have not been mandated by

the Governor under his emergency authority, are in fact unlawful and violative of

the students’ rights under the Fourteenth Amendment.

   I. PLAINTIFFS’ CLAIMS ARE NOT BARRED BY THE ELEVENTH

      AMENDMENT

   Defendant Board of Trustees initially raised the issue of Eleventh Amendment

standing, stating that a plaintiff can overcome the Eleventh Amendment issue of

standing if: “Congress has abrogated the state’s immunity; (2) the state has

voluntarily waived its immunity; or (3) the suit falls within Ex Parte Young because

it seeks prospective injunctive relief against state officials in their individual

capacities for ongoing violations of federal law,” citing In Re Deposit Insurance

Agency, 482 F.3d 612 (2007). Plaintiffs have since filed an amended complaint, as a

matter of course under Fed. R. Civ. P. 15(a) (and would otherwise be allowed under

Fed. R. Civ. P. 21), naming the University President, Andrew Agwunobi, in his

official capacity, for ongoing violations of federal law, with no change to the claims

within plaintiffs’ complaints. Similar to Ex Parte Young, 28 S. Ct. 441 (1908), where

plaintiffs sued the Minnesota Attorney General for enforcing an unlawful statute

passed by the legislature which restricted the amounts that railroad companies

could charge, plaintiffs here added Andrew Agwunobi, the University’s Chief




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Executive Officer, in charge of enforcing the Board of Trustees’ policies, to their

suit. Due to the ongoing violations of federal law claimed by the defendants, the fact

that plaintiffs are entitled as a matter of course to amend their complaint under

Fed. R. Civ. P. 15(a) and adding Defendant Agwunobi will have little to no effect on

the pace of this litigation, the Eleventh Amendment will not affect the plaintiffs’

claims moving forward, as their First Amended Complaint cures any deficiencies

with respect to Eleventh Amendment standing.

   II. PLAINTIFFS HAVE STANDING

   Plaintiffs have standing to bring this action. Defendants assertion is that

plaintiffs DiSalvatore and Barkasy no longer have standing because they were

granted an exemption, and that plaintiff Wade does not have standing because she

never availed herself of a “nonmedical” exemption, which has not been defined and

whose acceptance criteria has not been explained, even in the Declaration of

Eleanor Daugherty, which accompanied defendant’s Motion to Dismiss.

   A. Plaintiffs DiSalvatore and Barkasy Maintain Standing Regardless of
      Their Exemptions Due to the Arbitrariness and Vagueness of the
      Mandate, along with the Lack of Permanency or Timeframe
      Contained Within the Policy.

   Defendants assert that because DiSalvatore and Barkasy obtained “nonmedical”

exemptions from the University’s Associate Vice President of Student Affairs, that

they now lack standing. This is not the case. First, it is inaccurate that Ms.

Daugherty granted these exemptions “extremely frequently,” as she granted

roughly 65% of all applications. Second, she states that she reviews each application

to determine “(a) whether the student is enrolled; (b) whether the student will be



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living on-campus in a residence hall; (c) whether the student genuinely wants or

needs an exemption (e.g., an international student mistakenly believes that because

he/she has not yet been vaccinated he/she must request an exemption – Uconn

would vaccinate such students upon arrival on campus so no exemption would be

necessary); and (d) the potential impact on the health and safety of the requesting

student’s campus cohort, such as his/her residence hall.” (Decl. of Eleanor

Daugherty, ECF 16, Exhibit A ¶7).

Ms. Daugherty’s declaration carries with it a number of issues, which only bolster

plaintiffs’ claims that the UConn policy is unconstitutionally vague. First, plaintiffs

had to sue the Board of Trustees to even discover the University’s (through Ms.

Daugherty) criteria for acceptance or denial. Second, she uses an example of an

international student who mistakenly believes that he/she can’t get vaccinated but

failed to state how many of the 267 denials followed that scenario (it’s doubtful

many did). What this amounts to is a state university, through its President,

mandating a vaccine that is not approved by the FDA, subject to a nonmedical

exemption that has no definition, the qualification of which depends on whether the

Associate Vice President of Student Affairs determines whether a student

“genuinely wants or needs an exemption.” This is simply unconstitutional on its

face. “A vague law impermissibly delegates basic policy matters to policemen,

judges, and juries for resolution on an ad hoc and subjective basis, with the

attendant dangers of arbitrary and discriminatory application.”




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Grayned v. Rockford, 408 U.S. 104 (1972).

   As for standing, defendant cannot say with certainty that plaintiffs DiSalvatore

and Barkasy “have not, and will not, suffer the alleged injury that they complain

of.” There is no end date on this vaccine mandate, or the plaintiffs’ exemption

status. There is nothing to suggest that the Board will remove the nonmedical

exemption upon pending FDA approval of the various vaccines. And frankly, based

on the pattern of unilateral actions thus far, there is nothing to suggest that the

policy be changed immediately. On June 3, 2021, incoming students were not going

to be mandated to take the COVID-19 vaccine. On June 4, 2021, they were. This

disease has brought with it rapidly changing guidance, regulation and mandates.

This is exactly the scenario that Justice Gorsuch was referring to in Roman

Catholic Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63 (2020):

“That leaves my colleagues to their second line of argument. Maybe precedent does
not support the Governor's actions. Maybe those actions do violate the Constitution.
But, they say, we should stay our hand all the same. Even if the churches and
synagogues before us have been subject to unconstitutional restrictions for months,
it is no matter because, just the other day, the Governor changed his color code for
Brooklyn and Queens where the plaintiffs are located. Now those regions are
“yellow zones” and the challenged restrictions on worship associated with “orange”
and “red zones” do not apply. So, the reasoning goes, we should send the plaintiffs
home with an invitation to return later if need be. To my mind, this reply only
advances the case for intervention. It has taken weeks for the plaintiffs to work
their way through the judicial system and bring their case to us. During all this
time, they were subject to unconstitutional restrictions. Now, just as this Court was
preparing to act on their applications, the Governor loosened his restrictions, all
while continuing to assert the power to tighten them again anytime as conditions
warrant. So if we dismissed this case, nothing would prevent the Governor from
reinstating the challenged restrictions tomorrow. And by the time a new challenge
might work its way to us, he could just change them again. The Governor has
fought this case at every step of the way. To turn away religious leaders bringing
meritorious claims just because the Governor decided to hit the “off ” switch in the




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shadow of our review would be, in my view, just another sacrifice of fundamental
rights in the name of judicial modesty. Id (emphasis added).

      This approach to addressing the issue in front of the plaintiffs instead of

engaging in a constant back and forth between changing policies where standing is

imminent and then it seems to go away, the Court found that the issue was not

moot, and that the plaintiffs still faced “imminent harm”. Id. Further, “[a] law may

be unconstitutionally void for vagueness if it is “so vague that [persons] of common

intelligence must necessarily guess at its meaning and differ as to its

application,” Roberts v. U.S. Jaycees, 468 U.S. 609, (1984). It is no different here.

The policy is arbitrary and vague, and subject to the whims of the Board of

Trustees, the President and his designee, and the issue should be addressed for

these plaintiffs, despite their current and potentially temporary exemption status.


   B. Plaintiff Wade Has Standing Due in that She Cannot be Forced to
      Avail Herself of a Policy that has Not Been Defined, nor has Any
      Criteria Been Established as to Whether She Would Qualify.

   As stated in the prior section, plaintiff Wade cannot be expected to avail herself

of an exemption that has no definition, no information as to who does or does not

qualify, and no criteria for acceptance or denial. The cases cited by defendants, such

as Freedom from Religion Foundation., Inc. v. Lew, 773 F.3d. 815, 821 (7th Cir.

2014), deal with actual, legitimate policy exemptions. For instance, in Lew, the

plaintiff failed to withhold taxes and claim an exemption with the IRS. The claim

here is not that Ms. Wade was denied an exemption, but that the policy in and of

itself is unconstitutional, including the exemption provision, which has essentially

no meaning. In other words, at issue in the cases cited was not the exemption

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process or provision, but rather that the plaintiffs did not avail themselves to a

valid exemption process, or they were not included within the affected group and

suffered no injury (such as school busing not being authorized by statute, therefore

failure to continue busing did not grant plaintiff standing. Pucket v. Hot Springs

Sch. Dist. No. 23-2, 526 F.3d 1151 (8th Cir. 2008)).

   Defendants’ argument that a plaintiff has to submit to an unlawful and

unconstitutionally vague policy, including an exemption process that they cannot

define, before claiming standing, is not supported by the cases cited in their Motion.

Defendants do not get to avoid liability by failing to define a policy exemption, who

qualifies for the exemption, or what the criteria is for acceptance or denial, then

subsequently turn around and demand that a student should have availed him or

herself to the exemption that they haven’t explained. Also, we now know that the

entire process was left to the subjective determinations of defendants’ Vice

President of Academic Affairs, for on-campus residents who “genuinely need or

want” an exemption, and the “potential impact on the health and safety of the

requesting student’s campus cohort, such as his/her residence hall,” none of which

themselves have actually been defined. We have in front of us an actual state policy

that allows someone to opt-out of taking an unapproved vaccine if a state official

decides, based on her own determination, that the student “genuinely wants or

needs” an exemption. The fact that Wade did not participate in this

unconstitutional process does not eliminate her standing: it bolsters her claims.




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   III.       CONCLUSION

   Based on the plaintiffs curing any issues with their First Amended Complaint,

the Eleventh Amendment does not bar hearing the issue, nor, based on the

aforementioned reasons, do the plaintiffs lack standing to bring this lawsuit. For

these reasons, plaintiffs request This Court DENY defendant’s Motion to Dismiss.

                                              Plaintiffs, by their attorney,



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               CERTIFICATE OF SERVICE AND COMPLIANCE

I certify that on this 5th day of August 2021, I caused the foregoing to be served in
this matter by electronic mail to:

                          Mary Lenehan, Esq.
                          Assistant Attorney General
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                          Mary.lenehan@ct.gov


                                               /s/ Ryan P. McLane
                                              Ryan P. McLane, Esq. (BBO: 697464)




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